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                                                         ATTACHMENT 1




        ATTACHMENT 1
UNSWORN DECLARATION OF
       TIMOTHY A. DELONG
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                                                                                 ATTACHMENT 1



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

MICHAEL HYATT                                            )   CIVIL ACTION NO.: 2:22-cv-04004
                                                         )
VERSUS                                                   )   JUDGE ELDON E. FALLON
                                                         )
ABR LOGISTICS, LLC., THOMAS JOHNSON,                     )   MAGISTRATE KAREN W. ROBY
AND QBE UK LIMITED                                       )

                 UNSWORN DECLARATION OF TIMOTHY A. DELONG

        I am the CFO of Alabama Shipyard, LLC (“ASY”) and have read the lawsuit and third-

party claim filed in Michael Hyatt and ABR Logistics LLC, et al. (“ABR”), in Civil Action No.

2:22-cv-04004, in the United States District Court for the Eastern District of Louisiana.

        I have been asked to declare regarding the Gaea 6, formerly known as the HERCULES

202, scraping project and the work of ASY regarding same as follows:

        ASY operates a ship repair and a ship breaking and scraping business at its facility located

on the Mobile River in Alabama;

        ASY is not involved in any offshore exploration and production and, as part of its ship

breaking business, purchased the Gaea 6 from Offshore Equipment LLC as scrap (Attachment 1A);

        At all material times the Gaea 6 had been decommissioned from drilling as a jack-up rig,

had its top drive, BOPs and Drill strings removed and was not capable of exploring for oil and gas

when ASY purchased it as scrap;

        At all material times the Gaea 6 was not self-propelled and had no operational navigation

equipment onboard;

        At all material times the Gaea 6 was cold stacked in South Timbalier Block 32 waiting to

be “dead towed” to the ASY facility in Mobile, Alabama to be dismantled and cut into scrap;

        Michael Hyatt was employed at the ASY shipyard as a crane operator and rigger




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     ATTACHMENT 1A
PURCHASE SALE AGREEMENT
                     OF GAEA 6
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                                                                                   ATTACHMENT 1A




                         RIG PURCHASE AND SAIJ AGREEMENT

        This Rig Purchase and Sale Agreement ("Agreement") is made as of the 3lay of May
2021 ("Effective Date"), between Offshore Equipment LLC, a Texas limited liability company
("Seller"), and Alabama Shipyard, LLC, a Delaware limited liability company ("Buyer"). Buyer and
Seller may each be individually referred to as a "Party" and collectively as the "Parties" throughout
this Agreement

                                            RECITALS

        A.              Seller is the owner of certain mobile offshore drilling units known as the
GAEA 3 (ex-Hercules 204 IMO 8755455) and GAEA 6 (ex-Hercules 202 IMO 8752908) (each a
"Drilling Unit" or collectively the "Drilling Units").

        B.              Seller desires to sell the Drilling Units to Buyer, with all of their
equipment, fixtures, furniture, supplies, tools, spare parts, materials, substances, and any other
items located on board the Drilling Unit as of the date of inspection (May 6, 2021), except any top
drives, BOPs, Drillstrings, and third party owned equipment such as cementing units and certain
instrumentation that may currently be onboard the Drilling Units will remain the property of Seller
or third parties; otherwise, Seller must provide a list of any other equipment removed or to be
removed at its cost prior to the execution of this Rig Purchase and Sale Agreement, and Buyer
desires to purchase the Drilling Units from Seller for the sole purpose of scrapping, recycling and
otherwise disposing ofthe Drilling Units upon the terms and conditions set forth herein.

                                         AGREEMENT

       Seller and Buyer agree as follows:

        I.              Purchase and Sale. Seller hereby agrees to sell to Buyer, and Buyer agrees
to buy from Seller, subject to the terms and conditions stated herein, the Drilling Units.

       2.             Purchase Price. The purchase price for the Drilling Units is seven hundred
twenty-seven thousand five hundred eighty and no/100 Dollars ($727,580) ("Purchase Price").

       (a)    At Closing, Buyer will pay Seller by wire transfer of immediately available funds
              the Purchase Price.

       (b)    Seller shall bear (i) all taxes that relate to the ownership, operation or storage of the
              Drilling Units prior to the Closing Date and (ii) all applicable taxes assessed against
              Seller on account of the sale or transfer of the Drilling Units to Buyer, including
              taxes on Seller's capital gain (if any).

       (c)    Any taxes, fees and expenses in connection with the purchase and registration under
              the Buyer's flag shall be for the Buyer's account, whereas similar charges in
              connection with the closing of the Seller's registry shall be for the Seller's account



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      (d)   Buyer shall bear (i) all taxes that relate to the ownership, operation or storage of the
            Drilling Units after the Closing Date and (ii) all applicable taxes which are assessed
            on account of or in connection with the purchase of the Drilling Units from Seller,
            including all sales, value added, transfer, doe-mammy, stamp, gross receipts,
            license, registration, conveyance, excise and other similar taxes and fees.

      (e)   Any applicable ad valorem or other similar taxes that are imposed on a periodic
            basis with respect to the Drilling Units, shall be prorated between the Seller and the
            Buyer. The Seller shall be responsible for the amount of taxes for the year including
            the Closing Date (or, in the case of such taxes deteimined on an arrears basis, the
            amount of such taxes for the immediately preceding period) multiplied by a fraction
            the numerator of which is the number of calendar days in the portion of the period
            ending on and including the Closing Date and the denominator of which is the
            number ofcalendar days in the entire period. The Buyer shall be responsible for the
            amount of such taxes for the year including the Closing Date (or, in the case of such
            taxes determined on an arrears basis, the amount of such taxes for the immediately
            preceding period) multiplied by a fraction the numerator of which is the number of
            calendar days in the portion of the period beginning after the Closing Date and the
            denominator of which is the number of calendar days in the entire period.

     (f)    Occasional Sale. The transfer of the Drilling Units to Buyer is not made in Seller's
            regular course ofbusiness (as defined under La. Rev, Stat. Ann. Section 47:301(1)),
            and therefore, is considered an occasional sale and not subject to sales or use tax in
            the applicable taxing jurisdiction. However, the patties recognize that, although
            they believe the sale is not subject to sales or use tax, should such tax be applicable
            or assessed by any state against either party, the panics agree that Buyer shall be
            liable for any such tax assessed.

     (g)    Sale of the Drilling Units shall be on an "AS IS, 'WHERE IS" basis, without any
            obligation whatsoever on the part of Seller to jack down, load-out, make any pre-
            transport preparations, or transport the Drilling Units from their current location in
            the Gulf of Mexico, South Timbalier Block 32 (the "Drilling Unit Location"), to a
            different location, and without any obligation on the part ofSeller to incur any costs
            or expenses whatsoever associated with removing and transporting the Drilling
            Units. In accord with Section 9(a) below, Seller makes no warranties, and
            specifically disclaims any such warranties, that any machinery, equipment,
            structural component, slings, straps, cables, hoists, shackles, and/or other safety
            equipment that may be found on the Drilling Units are in a condition in which they
            can be used during any operation to make ready or transport the Drilling Units, and
            Buyer assumes all risk of loss associated with the use of any such items.

     3.

    (a)     The Closing shall occur at Seller's offices (or at such other location or by electronic
            means if agreed upon by the Parties) on or bethre May 12,2021 (the date on which
            such Closing ultimately occurs shall be referred to as the "Closing Date"), unless


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                 otherwise agreed by Seller. This Agreement shall be terminated without further
                 action or liability on the part of either Party, or any other recourse whatsoever, if
                 Buyer fails to pay the Purchase Price on the Closing Date.

        (b)     Prior to the Closing Date, Seller will deliver Seller's signed commercial invoice
                and bank instructions to Buyer and will deliver to Seller's representative the
                following "Closing Documents" which are to be held in trust until such time as the
                Seller confirms receipt of Buyer's wire transfer payment, at which time the Closing
                Documents will be provided to Buyer: (I ) an original signed and notarized Bill of Sale for
                each Drilling Unit, substantially in the form attached hereto as Exhibit A, and warranting
                that each such Drilling Unit is free and clear from all mortgages, liens and other
                encumbrances; (2) an executed Protocol of Delivery and Acceptance for each Drilling Unit
                substantially in the form attached hereto as Exhibit B; (3) Technical or regulatory
                documentation pertaining to the Drilling Units that are in Seller's possession; and (4) a
                certified copy of the resolutions of the boards of managers of the Seller authorizing the
                execution of this Agreement and the sale of the Drilling Units.

        4.              Delivery and Removal from the Drilling Unit Location.

        (a)     Delivery shall be deemed to be made to Buyer at the Drilling Unit Location upon
                the Closing ("Delivery").

        (b)     Upon Delivery, Buyer shall assume, at Buyer's sole cost, complete responsibility
                for compliance with all laws and regulations arising from or relating to the Drilling
                Units, the removal of the Drilling Units from the Drilling Unit Location, and the
                subsequent transportation of the Drilling Units by Buyer.

        (c)     It shall be Buyer's sole responsibility to obtain, and pay the cost of obtaining, any
                consents, permits, licenses, insurance, or other authorizations necessary or
                desirable for the transportation ofthe Drilling Units from the Drilling Unit Location
                and for the transfer of the Drilling Units to Buyer.

        5.              Risk of Loss. It is the express intention of the Parties that all risk of loss or
damage and liability arising out of the ownership, use, operation or condition of the Drilling Units
beginning as of the time the Purchase Price is received by Seller's Bank via wire transfer (as is
shown by the records of Seller's Bank) and continuing thereafter shall be borne in total by Buyer.
Prior to Closing, the Drilling Units shall be and remain in the possession ofand at the risk ofSeller,
subject to the terms of this Section 5. In the event of an actual total loss or constructive total loss
of either of the Drilling Units prior to Closing, this Agreement shall be terminated as to such
Drilling Unit (with each Drilling Unit being valued at $361,900 (GAEA 3) and $365,680 (GAEA
6) without further action or liability on the part of either Party. If any damage to one or more of
the Drilling Units occurs before Closing which does not result in such Drilling Unit being declared
an actual or constructive total loss, Buyer may either (1) terminate this Agreement as to such
Drilling Unit. or (2) if the Parties can agree, reduce the Purchase Price by an agreed sum. Buyer
agrees that after the Closing Date, Seller shall have no obligation to insure, inspect, secure, or
maintain the Drilling Units and that Buyer shall be solely responsible for placing its own insurance
thereafter.


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        6.             NOT USED

        7.              Seller Operating Documents. The Parties hereby agree that any records,
Seller manuals, reports and other internal Seller documents ("Sella Operating Documents") with
respect to the Drilling Units shall be the property of Seller and may be removed from the Drilling
Units by Seller prior to Closing. Excluding Seller Operating Documents, any plans, specifications,
manuals, drawings, and inspection and maintenance records with respect to the Drilling Units and
its equipment that are currently on board the Drilling Units shall remain on the Drilling Units and
become the property of Buyer after Closing.

       8.              Seller Representations. Seller makes the following representations and
warranties:

       (a)     This Agreement constitutes the valid and binding agreement of Seller, enforceable
               against Seller in accordance with its terms.

       (b)     Seller is a limited liability company duly organized and validly existing under the
               laws of Texas.

       (c)     Seller warrants it has good, valid and merchantable title to the Drilling Units and at
               the time title passes to Buyer at the Closing of this sale, that the Drilling Units will
               be free and clear of any and all mortgages, security interests, debts, liens, and
               encumbrances of any kind or type whatsoever.

        9.             Title: Disclaimer of Certain Warranties. Seller makes, and Buyer agrees to,
the following transfer of title and corresponding disclaimers of warranties, all of which survive
Closing:

       (a)    EXCEPT FOR THE WARRANTY OF LIEN FREE TITLE, THE DRILLING
              UNITS ARE BEING SOLD "AS IS, WHERE IS" WITH NO OTHER
              WARRANTIES WHATSOEVER OF ANY KIND WHATSOEVER,
              INCLUDING BUT NOT LIMITED TO WARRANTIES AS TO CLASS,
              CONDITION, SEAWORTHINESS, MERCHANTABILITY, FITNESS FOR A
              PARTICULAR PURPOSE, MATERIALS AND/OR WORKMANSHIP, AND
              SELLER SPECIFICALLY DISCLAIMS THE SAME BY PURCHASING THE
              DRILLING UNITS AFTER HAVING INSPECTED THEM ON MAY 21, 2020,
              BUYER AGREES THAT IT IS FULLY SATISFIED WITH THE CONDITION
              OF THE DRILLING UNITS AND THAT BUYER SHALL HAVE NO RIGHT
              TO MAKE ANY CLAIM OF ANY KIND WHATSOEVER AGAINST SELLER
              UNDER ANY THEORY WHATSOEVER (INCLUDING WITHOUT
              LIMITATION THEORIES OF NEGLIGENCE, UNSEAWORTHINESS, OR
              BREACH OR WARRANTY), BASED IN WHOLE OR IN PART ON ANY
              ALLEGED DEFICIENCY IN THE CONDITION, DESIGN, FITNESS OR
              SUITABILITY OF THE DRILLING UNITS AND/OR THEIR EQUIPMENT
              AND/OR APPURTENANCES.



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       (b)    'THIS IS THE FINAL, ENTIRE AND EXCLUSIVE EXPRESSION OF THE
              AGREEMENT OF THE PARTIES WITH RESPECT TO WARRANTIES AND
              REPRESENTATIONS AND THIS AGREEMENT SUPERSEDES ALL PRIOR
              REPRESENTATIONS AND UNDERSTANDINGS BY AND BETWEEN THE
              PARTIES, THEIR AGENTS, BROKERS AND REPRESENTATIVES.

       10.            Buyer Representations. Buyer makes the following representations and
warranties:

       (a)    This Agreement constitutes the valid and binding agreement of Buyer, enforceable
              against Buyer in accordance with Us temis.

       (b)    Buyer is a limited liability company duly organized and validly existing under the
              laws of Delaware.

       (c)    Buyer is purchasing the Drilling Units for the purposes of scrapping, recycling, or
              otherwise disposing of the Drilling Units. Buyer agrees that it shall not operate, use,
              sell (except as otherwise related to Buyer's scrapping, recycling or disposal
              operations), trade, or otherwise transfer the Drilling Units.

       11.           Indemnities.

       (a)    Seller's Indemnity. SELLER AGREES TO BE RESPONSIBLE FOR, PROTECT,
              INDEMNIFY, DEFEND AND HOLD HARMLESS BUYER, ITS
              SUBSIDIARIES AND AFFILIATES AND THEIR RESPECTIVE OFFICERS,
              DIRECTORS, PRINCIPALS, EMPLOYEES, AGENTS, REPRESENTATIVES,
              CONTRACTORS, AND INSURERS ("BUYER PARTIES") FROM AND
              AGAINST ANY AND ALL CLAIMS, DEMANDS, COSTS AND CAUSES OF
              ACTION (INCLUDING REASONABLE ATTORNEY'S FEES, COURT COSTS
              AND EXPENSES) MADE AGAINST THE DRILLING UNITS OR,
              ALTERNATIVELY, AGAINST BUYER PARTIES WHICH RELATE TO OR
              ARISE OUT OF: (I) SELLER'S, OR ITS SUBSIDIARIES OR AtinLIATES,
              POSSESSION AND USE OF rflE DRILLING UNITS OR THEIR OWNERSHIP
              AND OPERATION INCURRED OR LEVIED BY ANY PERSON, ENTITY OR
              GOVERNMENTAL AUTHORITY, INCLUDING BY ANY SELLER PARTIES,
              PROVIDED THAT SUCH CLAIM, DEMAND, COST OR CAUSE OF ACTION
              ARISES FROM EVENTS WHICH OCCUR OR ARE DEEMED TO HAVE
              OCCURRED PRIOR TO THE TRANSFER OF RISK OF LOSS AS PROVIDED
              IN SECTION 5; OR (II) ANY BREACH OF ANY OF THE
              REPRESENTATIONS, WARRANTIES OR COVENANTS OF SELLER
              CONTAINED IN THIS AGREEMENT.

              SELLER SHALL DEFEND, INDEMNIFY AND HOLD BUYER HARMLESS
              FROM AND AGAINST ANY AND ALL DAMAGES ARISING OUT OF OR



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            RELATING TO ANY TAXES FOR WHICH SELLER IS RESPONSIBLE
            UNDER SECTION 2 ABOVE.

      (b)   Buyer's Indemnity. BUYER HEREBY AGREES TO BE RESPONSIBLE FOR,
            PROTECT, INDEMNIFY, DEFEND AND HOLD HARMLESS SELLER, ITS
            SUBSIDIARIES AND AFFIL1A'TES AND THEIR RESPECTIVE OFFICERS,
            DIRECTORS, PRINCIPALS, EMPLOYEES, AGENTS, REPRESENTATIVES,
            CONTRACTORS, AND INSURERS ("SELLER PARTIES") FROM AND AGAINST
            ANY AND ALL CLAIMS, DEMANDS, COSTS AND CAUSES OF ACTION
            (INCLUDING REASONABLE ATTORNEY'S FEES, COURT COSTS AND
            EXPENSES) MADE AGAINST THE DRILLING UNITS OR, ALTERNATIVELY,
            AGAINST SELLER PARTIES WHICH RELATE TO: (I) BUYER'S, OR ITS
            SUBSIDIARIES OR AFFILIATES, POSSESSION AND USE OF THE DRILLING
            UNITS OR ITS OWNERSHIP AND OPERATION INCURRED OR LEVIED BY ANY
            PERSON, ENTITY OR GOVERNMENTAL AUTHORITY, INCLUDING BY ANY
            BUYER PARITES, PROVIDED THAT SUCH CLAIM, DEMAND, COST OR CAUSE
            OF ACTION ARISES FROM EVENTS WHICH OCCUR OR ARE DEEMED TO HAVE
            OCCURRED AFTER THE TRANSFER OF RISK OF LOSS AS PROVIDED IN
            SECTION 5 (INCLUDING BUT NOT NECESSARILY LIMITED TO ANY EVENT OF
            POLLUTION OR THE PRESENCE OF ANY NORM); OR (U) ANY BREACH OF ANY
            OF THE REPRESENTATIONS, WARRANTIES OR COVENANTS OF BUYER
            CONTAINED IN THIS AGREEMENT.

            BUYER SHALL DEFEND, INDEMNIFY AND HOLD SELLER HARMLESS
            FROM AND AGAINST ANY AND ALL DAMAGES ARISING OUT OF OR
            RELATING TO ANY TAXES FOR WHICH BUYER IS RESPONSIBLE
            UNDER SECTION 2 ABOVE.

      (c)   Application of Indemnities. ALL OF THE INDEMNITIES AND ALLOCATIONS
            OF RISK CONTAINED IN THIS SECTION II OR ELSEWHERE IN THIS
            AGREEMENT SHALL APPLY (TO THE EXTENT pERmrrrED BY LAW)
            NOTWITHSTANDING THE NEGLIGENCE, GROSS NEGLIGENCE OR
            WILLFUL MISCONDUCT OF ANY PERSON OR PARTY, STRICT
            LIABILITY, LIABILITY IMPOSED BY STATUTE, OR ANY OTHER
            BREACH OF OBLIGATION OF ANY PERSON OR ANY OTHER EVENT OR
            CONDITION. INDEMNTTEES SHALL BE ENTITLED TO REASONABLE
            ATTORNEYS' FEES INCURRED IN ASSERTING OR ENFORCING THE
            INDEMNITIES GRANTED HEREIN.

      (d)   Limitation of Liability. IN NO EVENT SHALL SELLER OR BUYER BE
            LIABLE TO EACH OTHER FOR SPECIAL, INDIRECT, CONSEQUENTIAL,
            PUNITIVE OR INCIDENTAL DAMAGES, WHETHER ARISING UNDER
            CONTRACT, WARRANTY, TORT OR ANY OTHER THEORY OF
            LIABILITY, EVEN IF ADVISED OF THE POSSIBILITY OF SUCH DAMAGES
            OR SUCH DAMAGES ARE FORESEEABLE.




                                                                                                    Go
      12,        Time is of the Essence. All stipulations as to time are strictly of the essence.



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        13.             Survival. The terms and conditions herein shall not merge on the Closing,
but shall survive the Closing and remain in full force and effect and be binding on Seller and Buyer
thereafter.

         14.            Severabilitv. If any provision of this Agreement is held invalid or
unenforceable by any court of competent jurisdiction, the other provisions of this Agreement will
remain in full force and effect. Any provision of this Agreement held invalid or unenfoiceable
only in part or degree will remain in full force and effect to the extent not held invalid or unenforceable,
and such provision shall be applied so as to give effect to the intent of such provision to the fullest extent
possible.

         15.            Opportunity to Consult with Attorney. Each of the Parties acknowledges
that it has had the opportunity to consult with an attorney of its own choosing regarding the subject
matter of this Agreement, that the terms hereof have been negotiated, and that if called on to
interpret this Agreement, no court or other tribunal shall apply any rule which construes any
ambiguity against one Party on the ground that it primarily or exclusively drafted this Agreement
or the term in question.

        16.            Broker's Fees or Commissions. Buyer shall have no liability whatsoever for
the payment of any commission or brokerage fee to any broker or agent employed by Seller,
including the fees of Mitchen Anderson Group LLC. Seller agrees to indemnify and hold harmless
Buyer from and against all loss, mist, damage, or expense arising out of claims for any fees or
commissions of brokers or agents employed or alleged to have been employed by Seller in
connection with the sale and purchase of the Drilling Units as provided for herein.

        17.             Expenses. Except as otherwise expressly provided herein, each Party hereto
will bear its respective costs and expenses incurred in connection with the preparation, execution
and performance of this Agreement and the transactions contemplated herein or therein. including
without limitation all fees and expenses of agents, representatives, counsel and accountants.

         18.           No Waiver. No failure by any Party to insist upon the strict performance of
any provision of this Agreement may be construed as depriving that Party of the right to insist on
strict performance ofthat provision or of any other provision in the future, and no waiver may be
deemed to have been made unless made expressly in writing and signed by a Party.

        19.          Assignment. Buyer shall not assign this Agreement without Seller's prior
written approval which approval may be granted or withheld in Seller's sole but reasonable
discretion.

        20.             Notices. All notices and other communications given or made pursuant to
this Agreement shall be in writing and shall be deemed effectively given upon the earlier of actual
receipt or: (a) personal delivery to the Party to be notified, (b) at the time ofelectronic confirmation
ofreceipt ifsent by electronic mail or facsimile during normal business hours of the recipient, and
if not sent during normal business hours, then on the recipient's next business day, (c) three days
after having been sent by registered or certified mail, return receipt requested, postage prepaid, or
(d) on confirmation of receipt from a nationally recognized private delivery service such as OHL Federal
Express or United Parcel Service. All communications shall be sent to the respective Parties at their


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 following address, or to such e-mail address. Facsimile number or address as subsequently modified by
 written notice given in accordance with this Section 20:

                         If to Buyer:

                                 Alabama Shipyard, LLC Attn: Mr. Ames Lafferty 660 Dunlap
                                 Drive
                                 Mobile, AL 36602
                                 E-Mail: alatiertvtitalabamashipvard.com

                        If to Seller:

                                Offshore Equipment, LLC
                                Attn: Mr. Josh Greenberg
                                5110 San Felipe 82W
                                Houston, TX 77056
                                E-mail: ioshgreenherg 126.1thounail.com

        21.             Governing Law. The Parties agree that this Agreement shall be governed by
and construed in accordance with general maritime laws of the United States, and, to the extent
such maritime laws are not applicable thereto, the laws ofthe State ofAlabama. The Parties submit
to arbitration in accordance with the Commercial Rules of the American Arbitration Association
(the "AAA") (except as modified hereby), which rules are deemed to be incorporated by reference
into this article. The seat of arbitration shall be Mobile, Alabama, USA. The arbitration tribunal
shall consist of three arbitrators, one selected by each of the Parties and the third selected by the
other two arbitrators. The prevailing Party in any litigation to enforce or interpret this Agreement
shall be entitled to recover its reasonable attorneys' fees at trial and on any appeal.

        22..           Counterparts. This Agreement may be executed in counterparts. Each such
counterpart shall be deemed to be an original and all such counterparts shall together constitute
one and the same instrument. Counterparts may be exchanged by facsimile or by electronic means
with original copies to be exchanged as soon as practicable thereafter.

        23.                   Agreement. This Agreement and the bill ofsale, when entered into by
Seller and Buyer, shall constitute the entire agreement between Seller and Buyer pertaining to the
subject matter thereof and shall supersede all prior and contemporaneous agreements,
understandings. negotiations and discussions, whether oral or written, of Seller and Buyer, and
there shall be no agreements or understandings between Seller and Buyer in connection with the
subject matter thereof except as specifically set forth therein. Neither Seller nor Buyer has relied
on any express or implied representation, written or oral, of any individual or entity as an
inducement to enter into this Agreement

                                  Pignatures on fallowing page]




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       IN WITNESS WHEREOF, the Seller and Buyer each execute this Rig Purchase and Sale
 Agreement as of the Effective Date.

                                  BUYER

                                        Alabama Shipyard, LLC



                                        Name: -77,7,04/ •
                                        Title:


                                 SELLER

                                        Offshore Equipment, LLC




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                           EXHIBIT A

                        Form of Rill of Sale




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                                                         BILL OF SALE
 1. VESSEL NAME                                                  2. OFFICIAL NUMBER

 GAEA 3                                                            IMO Number
                                                                   8755455
 3. NAME(S) AND ADDRESS(ES) OF SELLERS/


 OFFSHORE EQUIPMENT, LLC
 5110 San Felipe St.
 Houston, TX 77056
 3A. TOTAL INTEREST OWNED (IF LESS THAN 100%)             100             %

4. NAME(S) AND ADDRESS(ES) OF BUYER(S) AND INTEREST TRANSFERRED TO EACH:


ALABAMA SHIPYARD, LLC
660 Dunlap Drive
Mobile, AL 36602
4A TOTAL INTEREST TRANSFERRED (100% UNLESS OTHERWISE SPECIFIED)                               100       %
40. MANNER OF OWNERSHIP. UNLESS OTHERWISE STATED HEREIN, THIS BILL OF SALE CREATES A TENANCY IN COMMON. WITH EACH
TENANT OWNING AN EQUAL UNDIVIDED INTEREST, CHECK ONLY ONE OF THE FOLLOWING BLOCKS TO SHOW ANOTHER FORM OF

                                                                                                              n
OWNERSHIP.
                                                                 Fl TENANCY BY THE ENTIRETIES
  ri
  nJOINT TENANCY WITH RIGHT OF SURVIVORSHIP                                                                           COMMUNITY PROPERTY
       OTHER (DESCRIBE)

  . CONSIDERATION RECEIVED:

(ONE DOLLAR AND OTHER VALUABLE CONSIDERATION UNLESS OTHERWISE STATED)
6. I (WE) DO HEREBY SELL TO THE BUYER(S) NAMED ABOVE, THE RIGHT. TITLE AND INTEREST IDENTIFIED IN BLOCK 4 OF THIS BILL oF
SALE, IN THE PROPORTION SPECIFIED HEREIN_                                                                                                         :
The Vessel is sold as is, where is" with no warranties except as to title and free and dear of all encumbrances as is more ftily set forth below. '

7. SIGNATURES OF SELLER(S) OR PERSON(S) SIGNING ON BEHALF OF SELLER(S).                                       8. DATE SIGNED

                                                                                         May _,2021
9. NAME(S) OF PERSON(S) SIGNING ABOVE. AND LEGAL CAPACITY IN WHICH SIGNED (E.G.. OWNER. AGENT. TRUSTEE, EXECUTOR)


10_ ACKNOWLEDGMENT (TO BE COMPLETED BY NOTARY PUBLIC OR OTHER OFFICIAL AUTHORIZED BY A LAW OF A STATE OR THE UNITED
STATES TO TAKE OATHS.)
                                                                                                              I
STATE
COUNTY/PARISH:

ON MAY   2021 THE PERSON(S) NAMED IN SECTION 9 ABOVE ACKNOWLEDGED EXECUTION OF THE FOREGOING INSTRUMENT IN ItilEIR
STATED CAPACITY(IES) FOR THE PURPOSE THEREIN CONTAINED


                                                                               NOTARY PUI3LIC
                                                                               MY COMMISSION EXPIRES                                            1
                                                                                                                   roATE)                       4

                                          WARRANTMAPPURTENANCESILIIINTATIONSEXCEPTIONS
"As is, Where is" Sale. The Vessel is sold on an "as is, where is" basis and Buyer accepts delivery of the Vessel from Seller in such;
condition. Buyer warrants that it has made all inspections and inquiries that it has considered necessary as to the condition of the vessel
No representations or warranties, either expressed or implied. are made by Seer- with respect to the maintenance, repair, condition
design, operation, seaworthiness, value, marketability, merchantabdity„ usefulness or suitability for any purpose, of the Vessel, including
without limitation. (a) any implied or expressed warranty of merchantability, (b) any implied or expressed warranty for fitness for a :
particular purpose, and (6) the absence of any defects, whether known or unknown, With respect to the Vessel. Except as otherwise
expressly provided herein. Buyer and Seller intend that the Vessel is conveyed and transferred to Buyer, in its present condition and state
of repair existing on this date, as is' and 'where is." with d faults.
                                                                                                                                                      41.13,0*
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                                                                                                                    ATTACHMENT 1A




                                                                                                                                                    -
                                                        SILL OF SALE
 1. VESSEL NAME                                                 2. OFFICIAL NUMBER

 GAEA 6                                                           IMO Number
                                                                  8752908
' 3. NAME(S) AND ADDRESS(ES) OF SELLERS:/

 OFFSHORE EQUIPMENT, LLC
 5110 San Felipe St
 Houston, TX 77056
 3A. TOTAL INTEREST OWNED (IF LESS THAN 100%)             100             %

 4. NAME(S) AND ADDRESS(ES)OF BUYER(S) AND INTEREST TRANSFERRED TO EACH:                                                                        1

 ALABAMA SHIPYARD, LLC
 660 Dunlap Drive
 Mobile, AL 36602
 4A. TOTAL. INTEREST TRANSFERRED (100% UNLESS OTHERWISE SPECIFIED)                           100       %       i
                                                                                                               :.
48. MANNER OF OWNERSHIP. UNLESS OTHERWISE STATED HEREIN. THIS BILL OF SALE CREATES A TENANCY IN COMMON. WITH EACH
TENANT OWNING AN EQUAL UNDIVIDED INTEREST. CHECK ONLY ONE OF THE FOLLOWING BLOCKS TO SHOW ANOTHER FORM OF
OWI4ERSHIP.
  El JOINT TENANCY WITH RIGHT OF SURVIVORSHIP                    ID TENANCY BY THE ENTIRETIES                 I COMMUNITY PROPERTY.
  0 OTHER (DESCRIBE)                                                                                                                           1
                                                                                                                                               ,

' 5. CONSIDERATION RECEIVED:                                                                                                                   ,,

(ONE DOLLAR AND OTHER VALUABLE CONSIDERATION UNLESS OTHERWISE STATED)
6. I (WE) DO HEREBY SELL TO THE BUYER(S) NAMED ABOVE, THE RIGHT, TITLE AND INTEREST IDENTIFIED IN BLOCK 4 OF THIS BILL OF
SALE. N THE PROPORTION SPECIFIED HEREIN.                                                                                                         i
The Vessel is sold as is, where is" with no warranties except as to tide arid free and clear of al encumbrances as is mom fully set forth below. i

7. SIGNATURES OF SELLER(S) OR PERSON(S) SIGNING ON BEHALF OF SELLER(S).                                      8. DATE SIGNED

                                                                                                  2021
                                                                                                                                                     ,
9. NAME(S) OF PERSON(S) SIGNING ABOVE, AND LEGAL CAPACITY IN VIIHICH SIGNED (E.G., MINER. AGENT. TRUSTEE, EXECUTOR) i


10. ACKNOWLEDGMENT (TO BE COMPLETED BY NOTARY PUBLIC OR OTHER OFFICIAL AUTHORIZED BY A LAW OF A STATE OR TIE UNITED
STATES TO TAKE OATHS.)

STATE
COUNTY/PARISH:

ON MAY_,. 2021_THE PERSON(S) NAMED IN SECTION 9 ABOVE ACKNOWLEDGED EXECUTION OF THE FOREGOING INSTRUMENT IN THEIR
STATED CAPACITY(ES) FOR THE PURPOSE THEREIN CONTAINED.


                                                                              NOTARY PUBLIC
                                                                              MY COMMISSION EXPIRES
                                                                                                                  (DATE)


                                          WARRANnES/APPURTENANCESILIMITATIONSEXCEPTIONS
'As is. 'Where is' Sale. The Vessel is sold on an "as is. where is' basis and Buyer accepts delivery of the Vessel from Seller in such
condition. Buyer warrants that it has made all inspections and implies that it has considered necessary as to the condition of the vessel.
No representations or warranties, either expressed or implied, are made by SeMer writi respect to the maintenance, repair, condition,
design. operation, seaworthiness, value, marketability, merchantability. usefulness or suitability for any purpose, of the Vessel, inclu#ing
without limitation. (a) any nplied or expressed warranty of merchantabily. (b) any implied or expressed warranty for fitness fora :
particular purpose. and (c) the absence of any defects, whether known or unknown, with respect to the Vessel. Except as otherwise
expressly provided herein, Buyer and Seller intend that the Vessel is conveyed and transferred to Buyer, in its present condition and state
of repair existing on this date. "as is" and 'where is." with all faults.

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                              EXHIBIT B

           FORM OF PROTOCOL OF DELIVERY AND ACCEPTANCE




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                     PROTOCOL OF DELIVERY AND ACCEPTANCE

                                    GAEA 3 (ex-Hercules 204)



 KNOW ALL MEN BY THESE PRESENTS:

That the undersigned, as a duly authorized representative of OFFS( IORE EQUIPMENT, LLC, a
Texas limited liability company, (hereinafter referred to as "Seller") by these presents does hereby,
on behalf of the Seller, sell, grant, convey and deliver to ALABAMA SHIPYARD, LLC
(hereinafter referred to as -Buyer-), all right, title and interest to the jack-up drilling rig GAEA 3
(ex-Hercules 204) (the "Drilling Unit") pursuant to the terms of that certain Rig Purchase and Sale
Agreement dated as of May 7, 2021 by and between Buyer and Seller, and that the undersigned,
as a duly authorized representative of the Buyer, does hereby, on behalf of the Buyer, accept
delivery of the Drilling Unit.

The Drilling Unit, located at GULF OF MEXICO, SOUTH TIMBALIER BLOCK 32, is hereby
delivered and accepted as of        hours local time on the day of May 2021,

 OFFSHORE EQUIPMENT, LLC                              ALABAMA SHIPYARD, LLC
 Seller                                               Buyer




 By:                                                  By:

 Name:                                                Name:

 Title:                                               Title:


 Witness:                                             Witness:

 Name:                                                Name:




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                                                                                  ATTACHMENT 1A




                      PROTOCOL OF DELIVERY AND ACCEPTANCE

                                    GAEA 6 (ex-Hercules 202)



KNOW ALL MEN BY THESE PRESENTS:

That the undersigned, as a duly authorized representative of OFFSHORE EQUIPMENT, LLC, a
Texas limited liability company, (hereinafter referred to as "Seller") by these presents does hereby,
on behalf of the Seller, sell, grant, convey and deliver to ALABAMA SHIPYARD, LLC
(hereinafter referred to as "Buyer"), all right, title and interest to the jack-up drilling rig GAEA 6
(ex-liercules 202) (the "Drilling Unit") pursuant to the terms of that certain Rig Purchase and Sale
Agreement dated as of May 7, 2021 by and between Buyer and Seller, and that the undersigned,
as a duly authorized representative of the Buyer, does hereby, on behalf of the Buyer, accept
delivery of the Drilling Unit.

The Drilling Unit, located at GULF OF MEXICO, SOUTH TIMBALIER BLOCK 32, is hereby
delivered and accepted as of        hours local time on the day of May 2021_

 OFFSHORE EQUIPMENT, LLC                          ALABAMA SHIPYARD, LLC
 Seller                                           Buyer




 By:                                              By:

 Name:                                            Name:

 Title:                                           Title:


 Witness:                                         Witness:

 Name:                                            Name:




                                                 15
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        ATTACHMENT 2
    MASTER TIME CHARTER
    AGREEMENT (“MTCA”)
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                                                                                          ATTACHMENT 2




                           MASTER TIME cuARTER.AGREzymyr

 Thi&MASTER_TIME CHARTER AGREEMENT entered into on this 5* day of October, 2021 by and between
 ABR LOGISTICS, LLC ("COMPANY"), and ALABAMA SHIPYARD, LLC ("CLIENT").

                                                   W1TNESSETH:

 WHEREAS, CLIENT, from time to time, desires to Time Charter vessels from COMPANY, and

 WHEREAS, COMPANY owns various vessels and also acts as the broker for the owners andfor operators of other
 vessels suitably equipped for CLIENT's activities which it, from time to time, desires to Time Charter to CLIENT;

 NOW, THEREFORE, for and in consideration of the premises and the covenants herein contained, the parties hereto
 mutually agree as follows:

                                     Article 1— Formation and Ca neeledon

 This MASTER TIME CHARTER AGREEMENT (MASTER AGREEMENT) shall control and govern each
 SHORT FORM TIME CHARTER AGREEMENT (SHORT FORM, attached hereto as Exhibit A) entered into
 between CLIENT and COMPANY which incorporates this MASTER AGREEMENT by reference. CLIENT may
 from time to time, request from COMPANY price, availability, and delively information of specific vessels by
telephone or in writing. In the event a vessel is available and the price and delivery thereof are acceptable to
CLIENT, COMPANY will issue a SHORT FORM to CLIENT. Each party may cancel the MASTER
AGREEMENT upon the giving of a thirty (30) day prior written notice to the other, provided, however, that any
unexpired SHORT FORM shall continue in effect subject to the terms and conditions hereof until expiration of the
term specified in such SHORT FORM.

The term of any SHORT FORM shall begin upon delivery of said vessel by COMPANY to CLIENT at the location
and at the time specified in the SHORT FORM and continue for the term(s) specified unless terminated by CLIENT
upon written notice to COMPANY.

                                         Article 2- Brokering of Vjessels

Under this MASTER AGREEMENT, CLIENT may from tinte to time permit COMPANY to act as a broker and to
provide marine vessels owned by third parties (the "Subcharter") for purposes of meeting the requirements of a
SHORT FORM. OWNER shall not Subcharter without the express written authorization of CLMNT. The
compensation to COMPANY for the Subcharter shall be inclusive of all charges and costs er the Subcharter and
shall be subject to the tenus and conditions of this MASTER AGREEMENT.

It shall be the responsibility of COMPANY to ensure that the owner of the Subcharter provides crews and vessels
which are properly licensed and certified in accordance with applicable laws and regulations, and that all such
vessels are staunch, seaworthy and are otherwise appropriate and suitable for the purposes for which they are being
Subchartered. COMPANY shall be responsible for the payment of any fines or penalties or other costs, including
costs of defense, incurred by CLIENT as a result ofany failure by COMPANY to provide a Subcharter which meet
these requirements.

                                               Article 3- Charter

This MASTER AGREEMENT does not obligate COMPANY to charter a Vessel to CLIENT, nor does it obligate
CLIENT to hire a Vessel from COMPANY on a time charter basis, but this MASTERAGREEMENT together with


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  any SHORT FORM signed by both COMPANY and CLIENT, shall govern the respective rights and duties of
  COMPANY and CLIENT regarding the charter or Subcharter of any vessel. This is a nonexclusive vessel rental
  contract, and no vessel shall be considered chartered or hired until same is delivered by COMPANY to CLIENT at
  the location and at the time specified in the SHORT FORM and shall continue for the term(s) specified unless
  terminated by CLIENT upon written notice to COMPANY.

                        Article 4 -Deliverv, Redelivembibstitution and Vessel Condition

 Each vessel shall be delivered to CLIENT at the time and place specified in the applicable SHORT FORM. Time is
 of the essence for such delivery. COMPANY shall exercise due diligence to see that each vessel is delivered and
 maintained in good naming order and in a seaworthy condition. The vessel shall have valid documentation as
 required by the American Bureau of Shipping or other international classification society and the United Slates
 Coast Guard as applicable. COMPANY shall develop and maintain a security plan in compliance with theMaritime
 Transportation Security Act of2002 and Implementing regulations, and have the plan or a statement of exemption
 from a plan onboard each vessel under SHORT FORM as applicable.

 Throughout the term hereof; COMPANY shall maintain in full force and effect on the vessel all required United
 States Coast Guard documents and Certificates of Inspection together with any other documents required of the
 vessel.

 If the parties mutually agree, each vessel shall be surveyed before delivery and upon redelivery, expenses of said
 surveys shall be divided equally between CLIENT and COMPANY.

 COMPANY may, at any time with the prior written consent of CLIENT, substitute a suitable replacement vessel,
 provided such substituted vessel is acceptable to CLIENT as to equipment, time and location and may be subject to
 surveys as noted in the preceding paragraph.

Redelivery at the port or place specified in The applicable SHORT FORM may be postponed for the duration of any
voyage or operation in progress at the expiration of the SHORT FORM term and for any additional period
reasonably necessary to effect redelively. CLIENT shall pay the time charter hire, at the applicable SHORT FORM
rate, for the entire period that redelivery is postponed or delayed.

CLIENT shall pay COMPANY for all fuel, lube and water on board the vessel at the time ofdelivery. COMPANY
shall pay CLIENT for all fuel, lube and water on board the vessel at the time ofredelivery. Quantities offtiel, lube
and water shall be determined by the respective on and off charter surveys and will be reflected on the invoice for
the vessel hire. Charter surveys/soundings, shall be shared equally by COMPANY and CLIENT. The prices for said
filet, tube and water shall be the prevailing price at the respective port of delivery and redelivery.
                                              Article 5- Charter Hire

COMPANY shall bill CLIENT at the rates provided in each SHORT FORM at the address specified in Paragraph 24
hereunder, or such other address as CLIENT may, from time to time, designate in writing, at the end ofeach SHORT
FORM. CLIENT shall pay COMPANY within thift,4369.tiftcra II 5) days after receipt of an approved invoice.
Payment shall be made in U.S. Doll= to COMPANY, or its assigns, at either the address specified in Paragraph 24
hereunder or such other place as COMPANY may designate in writing in the SHORT FORM.

In the event of a dispute ofall or part ofan invoice, the undisputed portion ofsaid invoice shall be paid and only the
disputed portion shall remain unpaid pending the resolution of the dispute. If any vessel is lost, payment shall be
made up to and including the date of the loss. If the time of loss is uncertain, then hire shall be payable up in and
including the day such vessel was last heard from.



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  With respect to any payments against any of COMPANY'S invoices that include amounts due for any Subcharter,
  the payments are made in trust for the benefit ofsuch Subcharter and COMPANY will assure that such amounts are
  paid to the Subcharter owner within 14 days of receiving the payment from CLIENT.

 Except for such hens which arise from CLIENT's failure to pay COMPANYTn—bt-Widli of-this MASTER
 AGREEMENT, COMPANY agrees to indemnify and hold CLIENT Group harmless from and against any and all
 claims and/or liens arising by state and/or federal law created and imposed on any property, including vessels, which
 is owned, lease, rented and/or chartered by CLIENT Group or the customer for whom CLIENT may be performing
 services, and/or any property interests of CLIENT Group or the customer for whom CLIENT may be performing
 services. COMPANY agrees to indemnify and hold harmless CLIENT of and from all liens created and imposed
 upon the vessel or upon any CLIENT property (except such liens as might arise out of the obligations imposed
 herein on CLIENT) as a result ofthe manning, operating, victualing, maintaining, supplying and navigating ofthe
 vessel.

 CLIENT shall not create, incur, or permit any liens to be imposed upon any vessel chartered under this MASTER
 AGREEMENT.

 The rate provided for in the SHORT FORM may be revised at the request of COMPANY, and upon the agreement
 of CLIENT, provided COMPANY demonstrates that the operating cost have increased due to causes attributable to
 CLIENT.
                                        Article 6 - Use Of Vessel

 CLIENT agrees to restrict the use of each vessel to the lawful movement of its supplies, equipment (including
 CLIENT's vessels whether owned or chartered), and other materials and personnel incidental to its operations in the
 inland and offshore waters ofthe U.S. Gulf ofMexico, unless otherwise provided in the applicable SHORT FORM
 and in waters where the vessel can be navigated and always lie safely afloat at all stages ofthe tide. The whole of
 the vessel shall be at CLIENT's disposal reserving proper and sufficient space for the vessel's master, officers, crew,
 tackle, apparel, furniture, equipment, stores and fuel. For reasons of safety, the vessel shall not be used for live
 diving (also known as live boating).

 CLIENT and COMPANY agree to comply with all laws, regulations and the vessel's U.S. Coast Guard Certificate
of Inspection (C01) affecting the marine carriage and discharge of Noxious Liquid Substances (NLS) in btdk.
CLIENT may not load or cause to be loaded on the vessel any bulk NLS not authorized by the vessel's CO!, except
and to the extent permitted by CLIENT's National Pollution Discharge permit. No discharge of NLS residue into
the seals permitted; and CLIENT agrees to indemnify, protect, defend and hold harmless COMPANY, the vessel, its
registered owner(s), its master and crew, and their respective underwriters from and against the results of any breach
by CLIENT of the afors,said discharge prohibition. COMPANY shall not be required to clean the vessel's bulk
tanks, and CLIENT shall, at its own expense, arrange for the cleaning of such tanks and for the removal and legal
disposal ofthe resulting residues. CLIENT agrees to properly manifest all hazardous wastes and NLS wastes carried
aboard the vessel and to comply with all paperwork requirements imposed by law as a result of such carriage.

The operation, navigation and management of the vessel shall be under the exclusive control and command of
COMPANY. Subject always to the right ofthe master to determine whether a movement may be undertaken, the
vessel will be operated, and services herein described will be rendered, at times as requested by CLIENT.
COMPANY is an independent contractor, and neither it, nor its employees, nor the master or crew are servants,
agents or employees of CLIENT, CLIENT being interested only lathe completed performance ofthe services herein
provided.
The master ofeach vessel, including the master ofany Subcharter, shall determine whether operations requested by
the CLIENT can safely be undertaken and whether his vessel is capable of undertaking or being employed to miry
out the directions and orders of the CLIENT. The master, although either employed or appointed by the


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 COMPANY, shall be under the general directions ofthe CLIENT as regards employment ofthe vessel and shall not
 unreasonably refuse any request to undertake operations or carry out any order or direction specified by CLIENT.
 From time to time, CLIENT shall furnish the master of the vessel with all requisite instructions and general sailing
 directions, and the master shall keep full and correct logs ofthe voyages and these shall be made available within a
 reasonable time upon the request of CELEN1 .

                                    Article 7- Non-Crewmember Subsistence

 Food and bunking facilities, if any, for any personnel other than crew members shall be provided by COMPANY,
 subject to reimbursement by CLIENT, at the rate specified in the SHORT FORM.

                                      Article 8 -MIMI of Master and Crew

 COMPANY shall provide and pay for the master and crew of each vessel and shall victual, maintain, navigate and
supply the vessel at its expense. The master and crew shall either be U.S. Coast Guard licensed and/or documented.
 The master shall prosecute the voyage with dispatch and shall render all reasonable assistance with the vessel's
crew and equipment. The duties of the crew provided by COMPANY shall be limited to the maintenance and
navigation ofthe vessel, and local unions or labor regulations permitting, the loading and discharging of supplies,
materials, liquids, or other cargos laden aboard the vessel. CLIENT warrants that no licenses, permits, or other
documents shall be required by the crew members participating in the loading and discharging ofsupplies, materials,
liquids, or other cargoes. COMPANY shall not be required under any circumstances to load or discharge supplies or
cargoes except as expressly herein above provided.
If the CLIENT has reason to be dissatisfied with the conduct ofthe master or officers, the COMPANY shall, upon
receiving particulars of the complaint, investigate and, if necessary, make a change in the appointment or practice
required to satisfy the CLIENT's legitimate concerns.

                                       Article 9- Additional Ea ailment

CLIENT may install additional equipment aboard each vessel reasonably necessary in connection with its
operations, provided that CLIENT shall obtain the written consent of COMPANY before making any structural
changes or modifications, and provided that said installation shall be approved by the American Bureau of Shipping
and/or the United States Coast Guard, when applicable. All equipment installed by CLIENT shall remain its
property and shall be removed prior to redelivery, provided each vessel is restated to the same good order and
condition as it was prior to the Installation of equipment or structural change, all at CLIENT's expense. The
vessel(s) shall remain on-hire at that rate set forth in the applicable SHORT FORM during any period of said
Installation, removal and/or modification.

                                         Article 10 - Client ta Provide

CLIENT agrees to and shall provide and/or pay for:

       A.       Necessary dunnage, uprights and shoring equipment for securing deck cargo; fuel, oil and
                lubricants; fresh water; cordage; replacement bulk and cargo hoses; and the loading and discharging
                of all cargoes accept as provided in Article 8 herein; provided that CLIENT, at its option, may
                direct COMPANY to procure any or all ofthe above, subject to reimbursement by CLIENT for the
                costs thereof plus fifteen (15%) percent for handling.

       B.      All permits, clearance expenses, customs fees and duties (import or otherwise), pilotage fees,
               wharfage, port charges, canal fees, dockage, safe berths, watchmen, fumigation, extermination
               (when applicable during international work scopes), and cleaning of cargo tanks that are used by


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                  CLIENT, disposal ofwaste oil generated by CLIENT and all costs incident to any ofthe above., and
                  any taxes imposed by the country of registry of the vessel, imposed by any nadut in whidi the
                  vessel is required to work, agency fees and commissions incurre£1 in connection with the
                  assessment, levy or payment of any ofthe above, unless incurred by reason ofdelay or fault on the
                  parreTCOMPANY;but excluding c,oifil—ffite~d-hyrthwuiyutHryufrmkri—rtlfthe vessel,
                  franchise taxes, and personal property taxes itnposed by the home port taxing agency.

          C.      COMPANY ernployees are prohibited from entering cargo tenka for the purpose ofcleaning such
                  tanks. It is the responsibly of the CLIENT to have ali cement, barit* and liquid mud residue
                  remaining in cargo tanks cleaned. CLIENT is to provide a professional person who has Iraining in
                  conflned space areas, whohas proper safety procedures for tank cleanin& and who can provide the
                  proper equipment to do said cleaning.
                                         Artlele 11 — Comta nv's Insuranee

 COMPANY agrees, at its sole cost and expense, to procure and continuously maintain in full force and effect
 throughout the term ofthis MASTER AGREEMENT and any SHORT FORM, with reliable insurance companies
 rated not less than "A", or equivalent, by A.M. Best, the insurance coverages as set forth in Exhibit B attached hereto
 and tnade a part hereof

 COMPANY agrees, at its sole cost and expense, to provide, for COMPANY's employees, a worker's compensation
 and/or employe? s liability policy, and shall waive subrogation against CLIENT.

Prior to the commencement of any sezvices by COMPANY pursuant to this MASTERAGREEMENT, COMPANY
shall secure and deliver to CLIENT certificates, in duplicate, evidencing that the foregoing insurance coverages set
forth in Exhibit B are in full force and effect.

 COMPANY shall ensure by written contract that all Subcharters are covered by appropriate insurance not less titan
 the amounts required of COMPANY in this MASTER AGREEMENT. All policies of insurance provided by the
owner of such Subcharter shall, to the extent of the indemnity and release obligations expressly assumed herein by
COMPANY and/or such Subcharter, (I) include the CLIENT Group (as deflned below) as additional insureds
without limiting coverage to liability "as owner of the vessel" and to deletz any "as owner" clause or any other
language purporting to %it coverage to liability of an insured "as owner of the vessel" (2) provide that
underwriter's rights of subrogation against the additional insureds are waived, (3) provide that such policies of
insurance are primary to all other insurance of CLIENT Group and that any "other insurance" clause is deleted. But
all 'leming as additional instred, walver3 ofsubrogation, and primary-insured statues will apply in favor ofCLIENT
Group only to the extent of indernnities given by COMPANY hereunder and during such tirne that the vessel(s)
is/are worldng for, or is/are undar the direction ofCLIENT or its affiliates, subsidiaries or any entity for whom any
of the aforementioned have employed the service of the vessel(s) natned herein. CLIENT shall also be afforded
Contractual Liability coverage by the owner of such Subcharter.

                                          Artiele 12 — Client's Insuranee

CLIENT agrees at its sole cost and expense to procure and continuously maintain in full force and effectthroughout
the term of this MASTER AGREEMENT, and with reliable insurance companies, the following coverages:
        A.      Comprehensive General Liability Insurance, including Contractual Liability Insurance, covering
                CLIENT's obligations under this MASTER AGREEMENT, with limits of $5,000,000.00 per
                occasion.
        B.      All risks muzo and equipment insurance, in the full amount of all cargo and equipment of CLIENT


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                  and its affiliates, subsidiaries, and personnel carried aboard the vessel.

          C.      Worker's Compensation and Employer's Liability coverage with a minimum limit of
                  $1,000,000.00.

  All deductibles under the foregoing insurances shall be for the account of CLIENT. The All Risks Cargo and
  Equipment Insurance and Contractual Liability Insurance policies shall name COMPANY, the vessel, its owner(s),
 operators, master and crew and their respective underwriters as Additional Assurecis and shall waive subrogation
 against such additional assureds. It is understood and agreed that CLIENT's liability insurance shall exclude
 coverage for those risks assumed or insured by COMPANY in this MASTER AGREEMENT. CLIENrs worker's
 compensation and/or employer's liability policy shall waive subrogation against COMPANY, the vessel, its
 owner(s), operators, master and crew, and their respective underwriters. All ofthe aforesaid coverages shall provide
 that COMPANY receive thirty (30) days' notice of material change or cancellation.

 Upon request, CLIPNT shall secure and deliver to COMPANY certificates in duplicate evidencing that the
 foregoing insurances are in Ml force and effect. CLIENT may self-insure the foregoing insurances, unless and
 except as prohibited by law.

                                      Adiele 13 -Invalidation of Insurances
It is the intention ofthe parties hereto that all risks, incidents and Ahem% ordinarily and generally insurable in the
trade, shall be, and are insured against under the insurances provided for herein, or otherwise provided by the
COMPANY and CLIENT ofthe vessel. it is agreed that should any act of CLIENT vitiate or invalidate any ofthe
aforesaid policies of insurance, then CLIENT shall pay to COMPANY all losses, damages, and expenses sustained
by COMPANY as a result thereof, and shall indemnify COMPANY and vessel's registered owner(s) against all
claims and demands which arise and which would otherwise have been covered by such insurance. It is fluffier
agreed that, should any act of COMPANY vitiate or invalidate any of the aforesaid policies of insurance, then
COMPANY shall pay to CLIENT all lasses, damages, and expenses sustained by CLIENT as a result thereof and
shall indemnify CLIENT and vessel's registered owner(s) against all claims and demands which arise therefrom and
which would otherwise have been covered by insurance.

                                      Article 14— Comnanv's Indemnities
 COMPANY HEREBY RELEASES, RELINQUISHES, AND DISCHARGES, AND SHALL DEFEND,
INDEMNIFY AND HOLD HARMLESS (1) CLIENT, ITS PARENT, SUBSIDIARY AND AFFILIATED OR
RELATED COMPANIES, (ii) ITS AND THEIR CONTRACTORS AND SUBCONTRACTORS OF EVERY
TIER, AND (iii) THE OFFICERS, DIRECTORS, AGENTS, CONSULTANTS, INVITEES, INSURERS AND
EMPLOYEES OF ALL OF THE FOREGOING. (THE "CLIENT GROUP") AND ANY CUSTOMER FOR
WHOM CLIENT IS PERFORMING SERVICES, FROM AND AGAINST ANY CLAIM INVOLVING (i)
DAMAGE TO OR LOSS OF THE VESSEL OR ANY EQUIPMENT OR PROPERTY OF COMPANY
GROUP (AS DEFINED BELOW), (li) DAMAGE TO OR LOSS OF ANY SUBCHARTER OR ANY
EQUIPMENT OR PROPERTY OF THE SUBCHARTER OWNER, HIS EMPLOYEES AND/OR THE
CREW OF SUCH SUBCHARTER ("SUBCHARTFIR GROUP"), (in) INJURY, ILLNESS, DISEASE OR
DEATH OF ANY MEMBER OF COMPANY GROUP AND/OR (iv) INJURY, ILLNESS, DISEASE OR
DEATH OF ANY MEMBER OF THE SUBCHARTER GROUP, AND NO MEMBER OF CLIENT GROUP
SHALL HAVE ANY RESPONSIBILITY OR LIABILITY FOR ANY SUCH CLAIM, WHETHER
GROUNDLESS OR NOT, AND WHETHER CAUSED IN WHOLE OR IN PART BY THE
UNSEAWORTHINESS OF ANY VESSEL, OR THE SOLE, JOINT, CONCURRENT, ACTIVE OR
PASSIVE OR GROSS NEGLIGENCE OR FAULT OR STRICT LIABILITY, OF ANY MEMBER OF THE
CLIENT GROUP, OR BY THE EQUIPMENT OR PROPERTY OF ANY MEMBER OF THE CLIENT
GROUP.


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 COMPANY SHALL HAVE SOLE RESPONSIBILITY AND LIABILITY FOR THE CONTROL, CLEAN-
 UP AND REMOVAL OF AND SHALL PROTECT, DEFEND, INDEMNIFY, RELEASE AND HOLD
 HARMLESS CLIENT GROUP FROM AND AGAINST ANY AND ALL CLAIMS ARISING OUT OF
 YOLLI3TIO1-70R-CONIAISIINATION-TITAT RESULTS-FROM SUDDEN ANDIOR-ACCIDENTAL-
 SPILLS OF FUELS, LUBRICANT, MOTOR OILS, PIPE DOPE, PAINTS, SOLVENTS, BALLAST,
 BILGE, METALLIC OBJECTS AND/OR GARBAGE THAT (I) IS IN THE POSSESSION AND CONTROL
 OF ANY MEMBER 01? VENDOR GROUP OR SUBCHARTER GROUP OR (Et) EMANATES FROM THE
 VESSEL OR ANY EQUIPMENT IN THE POSSESSION AND CONTROL OF ANY MEMBER OF
 VENDOR GROUP OR SUBCHARTER GROUP AT THE TIME OF THE DISCHARGE.

                           ARTICLE 15- Client's Indemnities

WENT HEREBY RELEASES, RELINQUISHES, AND DISCHARGES, AND SHALL DEFEND,
INDEMNIFY AND HOLD HARMLESS (1) COMPANY, ITS PARENT, SUBSIDIARY AND AFFILIATED
OR RELATED COMPANIES, (ii) ITS AND THEIR CONTRACTORS AND SUBCONTRACTORS OF
EVERY TIER, AND (iii) THE OFFICERS, DIRECTORS, AGENTS, CONSULTANTS, INVITEES,
INSURERS AND EMPLOYEES OF ALL OF THE FOREGOING ("COMPANY GROUP") AND
SUBCHARTER GROUP FROM AND AGAINST ANY CLAIM INVOLVING (I) DAMAGE TO OR LOSS
OF ANY EQUIPMENT OR PROPERTY OF CLIENT GROUP, (ii) INJURY, ILLNESS, DISEASE OR
DEATH OF ANY MEMBER OF CLIENT GROUP, AND NO MEMBER OF COMPANY GROUP SHALL
HAVE ANY RESPONSIBILITY OR LIABILITY FOR ANY SUCH CLAIM, WHETHER GROUNDLESS
OR NOT, AND WHETHER CAUSED IN WHOLE OR IN PART BY THE UNSEAWORTHINESS OF ANY
VESSEL, OR THE SOLE, JOINT, CONCURRENT, ACTIVE OR PASSIVE OR GROSS NEGLIGENCE
OR FAULT OR STRICT LIABILITY, 01? ANY MEMBER OF THE COMPANY GROUP OR
SUBCHARTER GROUP, OR BY THE EQUIPMENT OR PROPERTY OF ANY MEMBER OF THE
COMPANY GROUP OR SUBCHARTER GROUP.

CLIENT SHALL HAVE SOLE RESPONSIBILITY AND LIABILITY FOR THE CONTROL, CLEAN-UP
AND REMOVAL OF AND SHALL PROTECT, DEFEND, INDEMNIFY, RELEASE AND HOLD
HARMLESS COMPANY GROUP OR SUBCHARTER GROUP FROM AND AGAINST ANY AND ALL
CLAIMS ARISING OUT OF POLLUTION OR CONTAMINATION THAT RESULTS FROM SUDDEN
AND/OR ACCIDENTAL SPILLS OF FUELS, LUBRICANT, MOTOR OILS, PIPE DOPE, PAINTS,
SOLVENTS, BALLAST, BILGE, METALLIC OBJECTS AND/OR GARBAGE THAT EMANATES FROM
ANY EQUIPMENT PLACED ON THE VESSEL BY MY MEMBER OF CLIENT GROUP AT THE TIME
OF THE DISCHARGE.

                          Article 16- Consea uential Damages

NOTWITHSTANDING ANY OTHER PROVISION OF THE AGREEMENT TO THE CONTRARY, INNO
EVENT SHALL EITHER PARTY OR ITS GROUP BE LIABLE TO THE OTHER PARTY FOR LOSS OF
PROFITS OR EARNINGS OR FOR SPECIAL, INCIDENTAL, PUNITIVE, OR CONSEQUENTIAL
DAMAGES (INCLUDING WITHOUT LIMITATION, LOSSES DUE TO BUSINESS INTERRUPTION OR
DIMINUTION IN VALUE OF THE ASSETS OR BUSINESS TO WHICH THEY RELATE) ARISING OUT
OF OR RESULTING FROM OR IN CONNECTION WITH THIS MASTER AGREEMENT OR ANY
SHORT FORM, WHETHER OR NOT CLAIMED TO BE DUE TO SUCH PARTY'S OR ITS GROUP'S
NEGLIGENCE (WHETHER SUCH NEGLIGENCE BE SOLE, JOINT OR CONCURRENT, ACTIVE OR
PASSIVE). FURTHER, COMPANY SHALL PROTECT, DEFEND AND INDEMNIFY CLIENT GROUP
FROM ANY SPECIAL, INCIDENTAL, PUNITIVE, OR CONSEQUENTIAL DAMAGES INCURRED BY
SUBCHARTER GROUP (INCLUDING WITHOUT LIMITATION, LOSSES DUE TO BUSINESS



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  INTERRUPTION OR DIMINUTION IN VALUE OF THE ASSETS OR BUSINESS TO WHICH THEY
  RELATE) ARISING OUT OF OR RESULTING FROM OR IN CONNECTION WITH THIS MASTER
  AGREEMENT OR ANY SHORT FORM, WHETHER OR NOT CLAIMED TO BE DUE TO SUCH
  PARTY'S OR ITS GROUP'S NEGLIGENCE (WHETHER SUCH NEGLIGENCE BE SOLE, JOINT OR
  CONCURRENI;ACTIVV-OR-P-ASSIVE).
 OWNER AND CLIENT ARE RESPONSIBLE TO THIRD PARTIES AS A MATTER OF LAW. FOR
 PURPOSES OF THIS AGREEMENT, "THIRD PARTY" IS DEFINED AS ANY PERSON, PARTY, OR
 ENTITY NOT A MEMBER OF CLIENT GROUP, COMPANY GROUP, OR SUBCHARTER GROUP.
                                                 Article 11- Off-Hire

 Should the vessel, for reasons not caused by CLIENT, break down, become inoperative, or unavailable to CLIENT
 (which shall not be deemed to include periods in which either the vessel is standing by awaiting instructions from
 CLIENT, or repairs and maintenance that can be performed without interfering with the operating requirements
 and/or continued movement of the vessel on behalf of CLIENT) for more than twenty-four (24) hours in any
 SHORT FORM, payment ofhire shall cease for all time in excess of said period from the time thevessel is unable to
 perform until the vessel is again in a thoroughly efficient state to resume service. COMPANY is allowed the time
 specified in the applicable SHORT FORM for maintenance and repairs to the vessel but shall coordinate such
 activity with CLIENT to least interfere with the operations of CLIENT.

 COMPANY' s liability to CLIENT as a result of the vessel breaking down or becoming inoperative shall be limited
 solely to the cessation of charter hire as set forth above in this Article.

                                                  Article 18- Safety

It is understood by the parties that COMPANY is an independent contractor and as such, COMPANY is responsible
for ensuring its operations are conducted in a manner consistent with appropriate health, safety and environmental
considerations. COMPANY covenants, warrants and represents that all services provided by COMPANY hereunder
shall operate in the safest manner possible, consistent with industry standards and in strict compliance with all
applicable rules, regulations, statutes, policies, and procedures of any governmental authority which may have
jurisdiction. When on CLIENT'S premises, COMPANY and its employees, agents, and subcontractors shall abide
fully with all applicable CLIENT safety rules and regulations, including, but not limited to, CLIENT's Health,
Safety and Environmental Policy requirements.
                                             Article 19- Force Maieure

Neither COMPANY, CLIENT, the vessel, or their owner(s), operators, managers, or agents shall be liable to the
others for any loss, damage, or delay ofwhatsoever nature resulting from a Force Majeure event, including but not
limited to acts ofGod, strikes, labor disputes, hostilities, war, epidemic, quarantine, embargo, or for restraint of any
government, rulers or people, or other causes beyond the reasonable control ofthe parties hereto. It is understood
and agreed that unusual or inclement weather preventing the operation of the vessel, while the vessel is otherwise
available for service, shall not interrupt the vessel's charter him.

                                          Article 20- Failure to Perform

If, at any time after delivery of the vessel to CLIENT, CLIENT fails to perform any of its duties or obligations
imposed under this MASTER AGREEMENT and any SHORT FORM, or if CLIENT is dissolved or adjudged as
bankrupt or has a petition in bankruptcy filed against it, or makes a general assignmentfor the benefit ofcreditors, or
ifa receiver is appointed for CLIENT, COMPANY may, without prejudice, to any other rights which it may have
under this MASTER AGREEMENT or any SHORT FORM, withdraw and retake all vessels, wherever the same


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  may be found, without prior demand and without legal process, and Bar that purpose may enter upon any dock, pier,
  or other premises where any vessel may be found and take possession thereof, provided however that COMPANY
  shall be responsible for and assume all loss, damage, injury, death, or other costs associated with all self-help
  retakings. Any cargo aboard any vessels retrieved by COMPANY shall remain the property ofCLIENT and shall be
  available to CLIENT for use and/or removal at all reasonable times.

                                                Article 21 - Salome

 All salvage and salvage towage shall, after payment of out-of-pocket expenses, awards to the master and crew, and
 charter hire due COMPANY during such salvage efforts, will be divided filly (50%) percent to CLIENT and fifty
 (50%) percent to COMPANY.
                                             Article 22- Assienmenj

 Neither COMPANY nor CLIENT shall assign this MASTER AGREEMENT without the prior written consent ofthe
 other, which consent shall not be unreasonably withheld, provided that CLIENT may assign its rights hereunder to
 its parent, affiliate or subsidiary and COMPANY may assign its rights to payment hereunder to its creditors without
 such consent. However, no such assignment shall relieve the assigning party from any of its obligations hereunder.

                                          Article 23- Najure of Charter
 Nothing herein contained shall be construed as creating a demise of the vessel to the CLIENT, nor shall this
 MASTER AGREEMENT be considered as or apply to the bareboat charter of any barge or other vessel from
 COMPANY by CLIENT. If a hareboat charter is desired for any barge or other vessel, such will be covered by a
 separate agreement.
                                               *tick 24 Notices

 The address of the COMPANY for sending notices under this MASTER AGREEMENT is:

                                         ASK Logistics, LLC
                                         P.O. Box 10
                                         Belle Chasse, LA 70037
                                         Mtn: Hank Ton
                                         Phone: (504) 616-2111

The address of the CLIENT* for sending invoices under this MASTER AGREEMENT is:

                                         Alabama Shipyard, LLC
                                         660 Dunlap Drive
                                         Mobile, AL 36602
                                         Attn: Samantha Johnston
                                         Phone: 251-307-1601

Any notices provided for herein shall be deemed to have been given at the time of mailing when sent by registered
mail to the recipient at the address herein above stated.

                                                Article 25- Law

This MASTER AGREEMENT shall be construed in accordance with the admiralty and maritime laws ofthe United
States ofAmerica. CHARTERER warrants that it is a United States citizen for the purposes of Section 2 ofibe U.S.


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Shipping Act. It is specifically understood that should either party seek legal recourse to have the other party
comply with and/or faill any ofits legal obligations under this MASTER AGREEMENT, the prevailing patty shall
be entitled to recover all reasonable attorney fees and costs incurred in connection therewith.

                                              Art:el-C-26 —Headings

The preceding headings are for identification purposes only and are not Intended to delineate the obligations or
rights ofthe parties to this MASTER AGREEMENT.

                                            Article 27 Severabilitv

The provisions of this Agreement are separable and severable. If any provision, item or application of this
Agreement shall be deemed invalid, in whole or in part, such invalidity shall not affect other provisions, items or
applications of this Agreement which can be given effect without the invalid provision, item or application.

                                            Article 25 —Integration
This MASTER AGREEMENT supersedes all prior agreements between the parties with respect to Its subject
matter and constitutes (along with any written SHORT FORM) a complete and exclusive statement of the terms
of the agreement between the parties with respect to its subject matter. This MASTER AGREEMENT may not
be amended except by written agreement executed by authorized representatives of both parties.

IN WITNESS WHEREOF, the parties hereto have caused this MASTER AGREEMENT to be executed by their
duly authorized representatives, in duplicate originals, as of the day and year first above written.




oe9.7.44vfar4,
WITNESSES:                                               COMPANY:
                                                         ABR LOGISTICS, LLC




444
                                                         By:

                                                         Name:

                                                         Title: fj-


                                                         CLIENT:
                                                         ALABAMA SHIPYARD

                                                         By:
                                                        Name:      I t         &Lew 6,

                                                        Title:    C:Fo




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                                Exhibit A - Short Form Time Charter Agreement

THIS CHARTER is entered into as of the day of                     20       between ABR LOGISTICS, LLC
(COMPANY), authorized charter ofthe vessel described below (Vessel) and ALABAMA SHIPYARD, LLC (CLIENT).

   Pursuant to the terms of that certain MASTER TIME CHARTER AGREEMENT, dated October 5, 2021 by and
   between COMPANY and CLIENT, the premises and covenants of which the parties hereto are familiar with and
   incorporate herein by reference, COMPANY hereby agrees to time charter vessel services for CLIENT and CLIENT
   agrees to hire the vessel subject to the following:

   1. CLIENT shall restrict use of vessel to the waters of the Gulf ofMexico.
   2. As used or specified herein, the following descriptions and rates shall be construed to be as set forth herein below:
    A.      VESSEL NAME:                                                                                            -1
            VESSEL NUMBER:
    B.      AGREED VALUE OF VESSEL:
    C.      TERM:
    C,      DATE OR TIME OF DELIVERY:
    E.     PORT OR PLACE OF DELIVERY:
    F.     PORT OR PLACE OF RE-DELIVERY:
                                                   —
   G.      PORT OR PLACE OF REGISTRY:
   H.      CHARTER RIRE RATES AND FEES:
           Daily Charter Rate:
           Meal Fee — Per Bunk:
                                                   -
           Bunking Fee —.Per Bunk:
   I.      MOBILIZATION FEE:
   I.      DEMOBILIZATION FEE:
   K.     -FUEL, LURE, CORDAGE, ETC.
                                                                                                                      1
  3. Is this a brokered vessel? (yes or no)
          If yes, vessel is owned by:

  4. Special Provisions numbered                    through                4annexcdheietoasAnnexA,shallbcdeemed
     incorporated herein and shall constitute additional terms and conditions ofthis SHORT FORM.

 CLIENT:                                                      COMPANY;
 ALABAMA SHIPYARD, LLC                                        ABR LOGISTICS, LLC


 By:                                                          By:
 Title:                                                       Title:


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                                        Exhibit B - Company's Insurance

                                 Attached to and made a part of that certain
                           MASTER TIME CHARTER AGREEMENT by and between
                                AIDUTAPIA—SHIPYARI:F,TEC-(CLIEN1)
                                                   and
                                  ABR LOGISTICS, LLC. (COMPANY),
                                        Effective October 5, 2021

 COMPANY shall during the term hereof, procure and maintain at its own expense, on forms and with reliable
 insurance companies acceptable to CLIENT and authorized to do business in the state in which the work is to be
 performed hereunder, the following insurance coverages and minimum limits:

a)      STATUTORY WORKMEN'S COMPENSATION AND EMPLOYER'S LIABILITY INSURANCE -
        which shall comply with the Workmen's Compensation Acts ofall jurisdictions in which any work provided
        or services hereunder is ens to be performed and covering all ofCOMPANY' s employees and agents; and
        which shall include coverage under the United States Longshore and Harbor Workers Compensation Act, as
        amended, endorsed to include operations on the Outer Continental Shelf and all such coverage shall have
        statutory limits, unless otherwise agreed; and such insurance shall be extended to include all Admiralty and
        Jones Act coverages and coverage under the Death on the High Seas Act and under the General Maritime
        Law, including claims for the unseaworthiness, maintenance and cure, with Marine and Voluntarily
        Compensation, to include coverages for masters and members of a crew of any vessel, including
        endorsements for transportation, maintenance, wages, and cure, with limits of One Million and no/100
        Dollars (US. $1,000,000.00), all of which coverages shall be per occurrence, not in the aggregate.

        The Worker's Compensation and Employer's Liability Insurance Policy or Policies shall be endorsed:

        L)      To provide for a Borrowed Servant and/or an Alternate Employer endorsement stating that any
                claim brought against CLIENT, its parent, subsidiary and affiliated companies, its joint venturers,
                co-lessees and their respective officers, directors, employees and insurers (CLIENT Group)
                asserting any claim as a borrowed servantmade by any employee shall be treated as claims against
                COMPANY.
        IL)     To provide for an In Rem endorsement, which shall provide that any claims In Rem against any
                vessel, equipment, property or property interests of CLIENT Group shall be heated as claim against
                COMPANY.

b)      COMPREHENSIVE GENERAL LIABILITY INSURANCE - which shall include products liability,
        completed operations, and broad form contractual liability coverage, which shall include all contractual
        liabilities and indemnities assumed herein by COMPANY, and shall have the watercraft exclusion deleted
        so as to cover all vessels not insured under a protection and indemnity policy; and shall have limits as
        follows:

        L)      For Bodily Injury                $1,000,000               any one occurrence and
                                                 $2,000,000               in the aggregate
        IL)    For Property Damage               $1,000,000               any one occurrence, and
                                                 $1,000,000               in the aggregate

        The Comprehensive General Liability Insurance Policy shall be endorsed to provide for an In Rem
        endorsement, which shall provide that any claims In Rem against any vessels, equipment, property or
        property interests of CLIENT Group shall be treated as claims against COMPANY.


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         If the Comprehensive General Liability Insurance Coverage is written on a claims-made basis and is non-
         renewed or canceled, COMPANY shall purchase and provide an endorsement granting an Extended
         Reporting Provision. The extended reporting period shall not be less than thirty-six (36) months. If the
         Comprehensive General-na6114rInsurance Coverage is an occurrence policy, ilihill contain a no sunset
         clause or similar provisions intending to cancel coverage on claims following any cancellation or non-
         renewal of such coverage.

c)       PROTECTION AND INDEMNITY INSURANCE (or its eouivaleaft — covering crew, employees of the
         OWNER, passengers, third parties, removal of wreck and/or debris and contractual liability containing a
         minimum limit of One Million and No/100 Dollars ($1,000,000) providing adequate navigation limits to
         perform all work and services contracted hereunder. PM Deductible not to exceed $50,000. COMPANY
         may cover its obligation for loss of life or bodily injury to the crew of all vessels and other watercraft by
         extending the Workmen's Compensation and Employer's Liability Policy provided in a.) above.

         All Protection and Indemnity Insurance Policies shall be endorsed to delete COMPANY's Limitation of
         Liability clauses sometimes found in Protection and Indemnity policies.

d)      HULL AND MACHINERY INSURANCE— for its owned vessels and vessels it subcharters, leases, hires or
        brokers including coverage against the risks of Strikes, Riots and Civil Commotion for an amount equal to
        the value of the vessel including all supplies and equipment aboard, Full Collision Liability Insurance
        subject to a total minimum limit of Five Million and No/100 Dollars ($5,000,000).

e)      UMBRELLA LIABILITY COYERAGE - with limits and serving to increase the limits of the above listed
        coverages to Ten Million and No/100 Dollars ($10,000,000), in excess ofthe coverage outlined in Sections
        a,), b.), c.), d.), (to the extent that d.) provides either collision or removal of debris coverage).

        POLLUTION LIABILITY COVERAGE - for pollution emanating from or caused by a vessel or vessels
        owned or operated by COMPANY with limits of not less than Five Million and No/100 Dollars
        ($5,000,000) per occurrence.

        a policies required hereunder shall be endorsed to delete the other insurance provision of COMPANY's
        policies and to provide that all COMPANY's policies shall be Winery and non-contributory insurance with
        respect to those risk and obligations assumed herein by COMPANY.
        COMPANY shall assure that Section a) IL coverage provided under this Section, which has territorial limits,
        shall have its territorial limits extended to include the Gulf ofMexico, including, but not limited to, state and
        federal (including the Outer Continental Shelf) waters.

        All deductibles under the foregoing insurances shill be for the account ofCOMPANY. All of the aforesaid
        policies shall name CLIENT, its parent, affiliates and subsidiaries, in their capacity as CLIENTs of the
        vessel, as additional insureds and shall waive subrogation against such additional insureds and their
        underwriters. Such policies shall also provide that CLIENT shall receive not less than thirty (30) days
        notice of material change or cancellation for the aforesaid coverages.
        Prior to the commencement of any services by COMPANY pursuant to this MASTER AGREEMENT,
        COMPANY shall secure and deliver to CLIENT certificates in duplicate evidencing that the foregoing
        insurance coverages are in full force and effect.




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